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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

AMERICAN AIRLINES, INC. and                        §
AADVANTAGE LOYALTY IP LTD.,                        §
                                                   §
        Plaintiffs,                                §
v.                                                 §             Civil Action No. 4:22-cv-00044-P
                                                   §
RED VENTURES, LLC and                              §
THE POINTS GUY, LLC,                               §
                                                   §
        Defendants.                                §


               PLAINTIFFS’ ORIGINAL ANSWER TO THE POINTS GUY’S
                 AMENDED COUNTERCLAIMS FOR ATTORNEY FEES


        Pursuant to Fed. R. Civ. P. 8(b), Plaintiffs American Airlines, Inc., and AAdvantage

Loyalty IP Ltd. (together, “American”) file this Original Answer to the Amended Counterclaims

for Attorney Fees pursuant to 15 U.S.C. §1117(a) and 17 U.S.C. §505 of Defendant The Points

Guy, LLC (“TPG”), and respectfully show the Court as follows:

                      I.       Count I: Attorney Fees under 15 U.S.C. 1117(a)

        1.      American admits that it has brought a claim against TPG under 15 U.S.C. §1125(a)

and alleged that TPG has violated 15 U.S.C. §1117(a).

        2.      American admits that 15 U.S.C. §1117(a) provides that the court in “exceptional

cases may award reasonable attorney fees to the prevailing party.”

        3.      American denies that they have litigated this case in an unreasonable manner.

        4.      American denies that TPG’s litigating position stands out from others with respect

to its substantive strength.

        5.      American denies that TPG is entitled to attorney fees in the unlikely event that TPG

prevails in this case.


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                      II.     Count II: Attorney Fees under 17 U.S.C. §505

        6.      American admits that it has brought a claim against TPG for Copyright

Infringement under 17 U.S.C. §101.

        7.      American admits that 17 U.S.C. §505 provides that a court may award reasonable

attorney fees to the prevailing party as part of its costs.

        8.      American denies that TPG is entitled to attorney fees under this statute.

                      III.    Additional Defenses and Affirmative Defenses

        9.      TPG’s claims must be dismissed to the extent they fail to state facts sufficient to
assert a cause of action.

        10.     TPG’s claims are barred in whole or in part by estoppel.

        11.     TPG’s claims are barred in whole or in part by laches.

        12.     TPG’s claims are barred in whole or in part by justification.

        13.     TPG’s claims are barred in whole or in part by privilege.

        For these reasons, Plaintiffs respectfully request the Court to enter judgment for American

and against TPG’s amended counterclaims for attorney fees and grant to American all other relief

to which it is entitled.




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Dated: October 6, 2022                          Respectfully submitted,

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                                                ATTORNEYS FOR PLAINTIFFS
                                                AMERICAN AIRLINES, INC. AND
                                                AADVANTAGE LOYALTY IP LTD.



                                 CERTIFICATE OF SERVICE

       I certify that on October 6, 2022, I served the foregoing document electronically in
accordance with the Federal Rules of Civil Procedure.



                                           /s/ Lars L. Berg
                                           Lars L. Berg



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